Case 2:02-cr-20041-SH|\/| Document 339 Filed 06/13/05 Page 1 Of 2 Page|D 451

 

 

J:N THE UNITED sTATEs DISTRICT coURT FHED ge UQ¢/_ D,c,
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION OSJUng PM 5:39
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UNITED sTATEs oF AME:RICA, ) WD C':" -FN.. 1‘-#%¥:\'1.1§?’§"!18
)
Plaintiff, )
)
vs. ) CR. NO. 02-20041-Ma
}
TYRONE JONES, }
RONALD MCNEIL, )
)
Defendants. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 3l, 2005. Defense
Counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case and to allow for
the disposition of the pending motion before the Sixth Circuit.

The Court granted the request and Continued the trial date to
the rotation docket beginning July 5, 2005 at 9:30 a.m., with a
report date of Friday, June 24, 2005 at 2:00 p.m.

The period, from, May 3l, 2005 through. July 15, 2005 is
excludable under 18 U.S.C. §§ 3l6l(h}(8)(B)(iv} and BlGl(h}(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

tbl/L

IT IS SO ORDERED this day Of Jul'le, 2005.

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WHhRmeB§amUmSZw)FWBPon¢E'jQq;§ UNITED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 339 in
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June 15, 2005 to the parties listed.

 

 

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Honcrable Samuel Mays
US DISTRICT COURT

